           Case 2:19-cv-02176-APG-DJA Document 18 Filed 10/01/21 Page 1 of 1




 1                                UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 JASON KYNYLL OWENS,                                       Case No.: 2:19-cv-02176-APG-DJA

 4                             Petitioner,                                 ORDER

 5 v.

 6 WARDEN WILLIAMS, et al.,

 7                             Respondents.

 8

 9         It is unclear whether Jason KyNyll Owens, the petitioner in this habeas corpus action, is

10 still at the address that the Court has on file for him. Before I proceed further with this case,

11 I will require Owens to either confirm that he is still located at the address he last provided to the

12 Court—at High Desert State Prison—or file a notice informing the Court and Respondents of his

13 new mailing address. See LR IA 3-1 (“An attorney or pro se party must immediately file with the

14 court written notification of any change of mailing address…. Failure to comply with this rule

15 may result in the dismissal of the action, entry of default judgment, or other sanctions as deemed

16 appropriate by the court.”).

17         I THEREFORE ORDER that Petitioner must, no later than November 5, 2021, either:

18 (1) file a notice confirming that his mailing address is still at High Desert State Prison, P.O. Box

19 650, Indian Springs, NV 89070-0650, or (2) file a notice of his new mailing address. If Petitioner

20 does not comply with this order within the time allowed, I will dismiss this action.

21         Dated: October 1, 2021

22                                                        ________________________________
                                                          ANDREW P. GORDON
23                                                        UNITED STATES DISTRICT JUDGE
